        Case 3:18-cv-00028-SRW Document 12 Filed 11/05/18 Page 1 of 19



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                               EASTERN DIVISION

DEBORAH PITTS,                               )
                                             )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )      CASE NO.: 3:18-cv-00028-SRW
                                             )
RAM PARTNERS, L.L.C.,                        )
                                             )
                                             )
       Defendant.                            )

                                  OPINION AND ORDER

       This matter is before the court on plaintiff’s motion to remand (Doc. 4), which is

opposed by defendant Ram Partners, LLC. This case was initially assigned to the

undersigned as presiding judge, and the parties subsequently consented in writing to the

exercise of final dispositive jurisdiction by the Magistrate Judge pursuant to 28 U.S.C. §

636(c) and Federal Rule of Civil Procedure 73(a). (Docs. 10, 11). The motion to remand

has been briefed and taken under submission without oral argument. For the reasons stated

herein, the plaintiff’s motion to remand is due to be denied without prejudice.

I.     Background and facts1

       Plaintiff initiated this suit on July 26, 2017 by filing a complaint in the Circuit Court

for Chambers County, Alabama. Doc. 1-1 at 4. Plaintiff was a lessee and resident of



1
 These are the facts only for purposes of the court’s ruling on the pending motion to remand. They
are gleaned from the notice of removal (Doc. 1) and exhibits thereto, the motion to remand (Doc.
4), and the brief in opposition to the motion to remand (Doc. 8) and exhibits thereto.
        Case 3:18-cv-00028-SRW Document 12 Filed 11/05/18 Page 2 of 19



defendant Ram Partners, doing business as The Apartments at the Venue. Id. at 5.

Plaintiff’s complaint alleges that, as a result of Ram Partners’ negligent and willful

conduct, she suffered injuries resulting in physical and mental suffering, past and future

medical expenses, and lost wages. Id. at 5-8. Plaintiff also seeks punitive damages. Id.

Plaintiff does not specify in her complaint the amount of damages she intends to claim and

does not otherwise make a demand. Id. at 4-8.

       When plaintiff filed her complaint, plaintiff also served summons on defendant. Id.

at 11-13. Defendant answered the complaint on September 8, 2017. Id. at 14-24. On

September 29, 2017, defendant served interrogatories and a request for production on

plaintiffs. Id. at 26-43. On November 20, 2017, plaintiff responded to defendant’s

interrogatories and written discovery request. Id. at 44. On December 13, 2017, defendant’s

counsel transmitted correspondence to plaintiff’s counsel asking for clarification of

plaintiff’s responses to interrogatories and requesting a settlement demand. Doc. 1-2. On

December 18, 2017, plaintiff’s counsel responded to defendant’s counsel, stating that

plaintiff’s income loss was $24,396.18 and her out-of-pocket medical expense was

$20,324.14, and demanding a settlement in the amount of $250,000 to resolve plaintiff’s

claim in its entirety. Doc. 1-3. Defendant filed its notice of removal, which is premised on

diversity jurisdiction, on January 17, 2018. Doc. 1.

II.    The parties’ positions

       In its notice of removal, defendant argues that while the parties are diverse, this case

was not originally removable because it was not clear that the amount in controversy was

in excess of $75,000. Doc. 1 at 1-5. According to defendant, the case became removable


                                              2
        Case 3:18-cv-00028-SRW Document 12 Filed 11/05/18 Page 3 of 19



on December 18, 2017 – the date on which plaintiff’s counsel made a settlement demand

of $250,000. Id. at 8. Defendant argues that plaintiff’s settlement demand constituted an

“other paper,” as contemplated by 28 U.S.C. § 1446(b), and that receipt of this “other

paper” triggered the 30-day time period for removal. Id. at 7-8. Defendant attached the

settlement demand to its notice of removal. Doc. 1-3.

       Plaintiff’s motion to remand does not dispute the amount in controversy or the

timeliness of the defendant’s notice of removal. Plaintiff argues that the case is due to be

remanded because the complaint does not establish diversity of citizenship. Doc. 4 at 2.

Plaintiff argues that defendant has members who are citizens of Alabama. Doc. 4 at 3.

       Defendant argues in response to plaintiff’s motion to remand that it is a limited

liability company with four individual human members who are all domiciled in the state

of Georgia. Doc. 8. Defendant further contends that plaintiff’s settlement demand of

$250,000 clearly establishes that the amount in controversy exceeds $75,000, and that the

removal was timely. Id. Defendant attaches an affidavit from Martha Logan, a member of

Ram Partners, to its response to plaintiff’s motion to remand, which states that each of Ram

Partners’ four members are domiciled in the state of Georgia. Doc. 8-1.

III.   Legal standards

       “It is by now axiomatic that the inferior courts are courts of limited jurisdiction.

They are ‘empowered to hear only those cases within the judicial power of the United

States as defined by Article III of the Constitution,’ and which have been entrusted to them

by a jurisdictional grant authorized by Congress.” Griffith v. Wal-Mart Stores East, L.P.,

884 F. Supp. 2d 1218, 1221 (N.D. Ala. 2012) (citing Univ. of S. Ala. v. Am. Tobacco Co.,


                                             3
        Case 3:18-cv-00028-SRW Document 12 Filed 11/05/18 Page 4 of 19



168 F.3d 405, 409 (11th Cir.1999)). “[B]ecause removal jurisdiction raises significant

federalism concerns, federal courts are directed to construe removal statutes strictly.” Id.

(citing Univ. of S. Ala., 168 F.3d at 411).

       The removing party has the burden of establishing subject matter jurisdiction.

Griffith, 884 F. Supp. 2d at 1221. “[B]ecause the jurisdiction of federal courts is limited,

the Eleventh Circuit Court of Appeals favors remand of cases that have been removed

where federal jurisdiction is not absolutely clear.” Id. (quoting Lowe's OK'd Used Cars,

Inc. v. Acceptance Ins. Co., 995 F. Supp. 1388, 1389 (M.D. Ala.1998)). “In fact, removal

statutes are to be strictly construed, with all doubts resolved in favor of remand.” Id.

(quoting Lowe’s, 995 F. Supp. at 1389).

       The district court must “review the propriety of removal on the basis of the removing

documents.” Lowery v. Ala. Power Co., 483 F.3d 1184, 1211 (11th Cir. 2007). Removing

documents include “all documents before the court when it reviews the propriety of

removal” that are relevant to making such assessments. Pretka v. Kolter City Plaza II, Inc.,

608 F.3d 744, 773 n.28 (11th Cir. 2010)(citing Sierminski v. Transouth Fin. Corp., 216

F.3d 945, 949 (11th Cir. 2000)(“We align ourselves with our sister circuits in adopting a

more flexible approach, allowing the district court when necessary to consider post-

removal evidence in assessing removal jurisdiction.”)). See also Travaglio v. Am. Express

Co., 735 F.3d 1266, 1269 (11th Cir. 2013)(“we need not vacate a decision on the merits if

the evidence submitted during the course of the proceedings cures any jurisdictional

pleading deficiency by convincing us of the parties' citizenship”)(considering evidence

establishing diversity of citizenship); Williams v. Best Buy Co., 269 F.3d 1316 (11th Cir.


                                              4
        Case 3:18-cv-00028-SRW Document 12 Filed 11/05/18 Page 5 of 19



2001)(“Where the pleadings are inadequate, we may review the record to find evidence

that diversity jurisdiction exists.”). “If that evidence is insufficient to establish that removal

was proper or that jurisdiction was present, neither the defendants nor the court may

speculate in an attempt to make up for the notice’s failings.” Lowery, 483 F.3d at 1214-15.

       However, the court is not limited only to the evidence on record, and “a defendant

may add post-removal evidence of jurisdiction to the record when that evidence is

otherwise admissible.” Pretka, 608 F.3d at 773 (considering evidence establishing the

amount in controversy requirement and citing Lowery, 483 F.3d at 1218-21)(emphasis in

original). Further, so long as the removal is procedurally proper, “[d]efendants may

introduce their own affidavits, declarations, or other documentation.” Id. at 755 (citing

Miedema v. Maytag Corp., 450 F.3d 1322, 1330 (11th Cir. 2006); Williams, 269 F.3d at

1319; Sierminski, 216 F.3d at 949; Fowler v. Safeco Ins. Co. of Am., 915 F.2d 616, 617

(11th Cir. 1990)). While the Eleventh Circuit has cautioned that “post-removal discovery

disrupts the careful assignment of burdens” and that such discovery may “impermissibly

lighten[] the defendant’s burden of establishing jurisdiction, Lowery, 483 F.3d at 1217-18,

where there is incomplete development of the record as to whether jurisdiction exists, the

court has repeatedly directed district courts to make further factual findings. See Rolling

Greens MHP, L.P. v. Comcast SCH Holdings, L.L.C., 374 F.3d 1020, 1023 (11th Cir.

2004)(remanding to the district court “for the limited purpose of determining whether

diversity jurisdiction exists”); Leonard v. Enter. Rent a Car, 279 F.3d 967. 972 (11th Cir.

2002)(“[w]here, however, it is unclear whether the jurisdictional amount has been satisfied,

due to an incomplete development of the record by the district court, the proper course of


                                                5
          Case 3:18-cv-00028-SRW Document 12 Filed 11/05/18 Page 6 of 19



action is to remand the case for factual findings on the actual amount in controversy.”);

Williams, 269 F.3d at 1321 (“where the notice of removal asserts that jurisdictional amount

and the plaintiff does not challenge that assertion in the district court, we will remand the

case to the district court for factual findings on the amount in controversy if the amount in

controversy cannot clearly be determined by a review of the record”). Accord Lowery, 483

F.3d at 1215 n.69 (distinguishing its refusal to allow post-removal discovery from the

circumstances in Williams). Any jurisdictional facts supporting removal “must be judged

at the time of the removal, and any post-petition affidavits are allowable only if relevant to

that period of time.” Id. at 949 (quoting Allen v. R&H Oil Co., 63 F.3d 1326, 1335 (5th Cir.

1995)).

       A. Timeliness

       Removal is governed by 28 U.S.C. § 1446, which “contemplates two ways that a

case may be removed based on diversity jurisdiction.” Moore v. Wal-Mart Stores East, LP,

2015 WL 5813164 *4 (M.D. Ala. 2015)(report and recommendation adopted). “The first

way (formerly referred to as ‘first paragraph removals’) involves civil cases where the

jurisdictional grounds for removal are apparent on the face of the initial pleadings.” Id.

(quoting Griffith, 884 F. Supp. 2d at 1223). See also 28 U.S.C. §1446(b)(1)(2012).2 “The




2
  “The Court in Griffith explained the ‘first paragraph’ and ‘second paragraph’ distinction made
throughout case law analyzing this statute. It explained: The now defunct distinction between ‘first
paragraph’ and ‘second paragraph’ removals is rendered obsolete by a clearer version of the
removal statute, as amended by the Federal Courts Jurisdiction and Venue Clarification Act of
2011, PL 112-63, December 7, 2011, 125 Stat. 758, which added subsections to 28 U.S.C. §
1446(b). The substance of the removal procedure is not affected by the stylistic changes to the
statute; therefore, the previous case law discussing ‘first paragraph’ and ‘second paragraph’

                                                 6
        Case 3:18-cv-00028-SRW Document 12 Filed 11/05/18 Page 7 of 19



second way (formerly referred to as ‘second paragraph removals’) contemplates removal

where the jurisdictional grounds later become apparent through the defendant’s receipt of

‘an amended pleading, motion, order, or other paper from which it may first be ascertained

that the case is one which is or has become removable.’” Id. (quoting Griffith 844 F. Supp.

2d at 1223). See also 28 U.S.C. § 1446(b)(3)(2012). “Demand letters, settlement offers,

and even emails estimating damages may constitute ‘other paper.’” Lee v. Lilly Trucking

of Virginia, Inc., 2012 WL 960989 *2 (M.D. Ala. 2012); see 28 U.S.C. § 1446(c)(3)(2012)

(“If the case stated by the initial pleading is not removable solely because the amount in

controversy does not exceed the amount specified in 1332(a), information relating to the

amount in controversy in the record of the State proceeding, or in responses to discovery,

shall be treated as an ‘other paper’ under subsection (b)(3).”). For a second paragraph

removal to be timely, it must be filed “within thirty days after receipt by the defendant . . .

from which it may be first ascertained that the case is one which is or has become

removable.” 28 U.S.C. § 1446(b)(3)(2012). As explained by the court in Lowery:

       Under the second paragraph, a case becomes removable when three
       conditions are present: there must be (1) “an amended pleading motion, order
       or other paper,” which (2) the defendant must have received from the plaintiff
       (or from the court, if the document is an order), and from which (3) the
       defendant can “first ascertain” that federal jurisdiction exists.

483 F.3d at 1213 n.63. The 30-day removal clock “starts ticking” once all three conditions

are present. Allen v. Thomas, 2011 WL 197964 *3 (M.D. Ala. 2011).




removals is still applicable despite its outdated terminology… .” Moore, 2015 WL 5813164, at *4
n. 3 (citing Griffith, 884 F. Supp. 2d at 1223 n.1).


                                              7
        Case 3:18-cv-00028-SRW Document 12 Filed 11/05/18 Page 8 of 19



       B. Diversity of Defendants

       “Where, as here, the purported statutory basis for federal jurisdiction is 28 U.S.C.

§ 1332(a)(1)(2012)3 – a civil action satisfying the amount-in-controversy requirement and

between “citizens of different States” – there must be “complete diversity of citizenship.

That is, diversity jurisdiction does not exist unless each defendant is a citizen of a different

State from each plaintiff.” Owen Equip. & Erection Co. v. Kroger, 437 U.S. 365, 373

(1978). See also Hernandez v. Ferris, 917 F. Supp. 2d 1224, 1226-27 (M.D. Fla. 2012)

(“Federal courts have diversity jurisdiction over civil actions when the amount in

controversy exceeds $75,000 and the action is between citizens of different states. 28

U.S.C. § 1332(a). Diversity jurisdiction requires complete diversity; every plaintiff must

be diverse from every defendant.”).” If a case has been removed, diversity jurisdiction is

determined at the time of removal. PTA-Fla, Inc. v. ZTE USA, Inc., 844 F.3d 1299, 1306

(11th Cir. 2016)(citing Tillman v. R.J. Reynolds Tobacco, 253 F.3d 1202, 1306 n.1 (11th

Cir. 2001)). “[A] party removing a case to federal court based on diversity of citizenship

bears the burden of establishing the citizenship of the parties.” Rolling Greens, 374 F.3d at

1022 (citing Williams, 269 F.3d at 1319). See also Lamm v. Bekins Van Lines, Co., 139 F.

Supp. 2d 1300, 1314 (M.D. Ala. 2001)(“To invoke removal jurisdiction on the basis of

diversity, a notice of removal must distinctly and affirmatively allege each party’s

citizenship. The allegations must show that the citizenship of each plaintiff is different from

that of each defendant.”).


3
 See Doc. 1 at 3 (“This Court has jurisdiction based upon diversity of citizenship, pursuant to 28
U.S.C. § 1332(a) and 28 U.S.C. § 1441(a).”).

                                                8
         Case 3:18-cv-00028-SRW Document 12 Filed 11/05/18 Page 9 of 19



        For natural persons, “[c]itizenship, not residence, is the key fact that must be

alleged” to establish diversity. Taylor v. Appleton, 30 F.3d 1365, 1367 (11th Cir. 1994).

See also Travaglio, 735 F.3d at 1268 (“For diversity purposes, citizenship means domicile;

mere residence in the State is not sufficient.”)(quoting Mas v. Perry, 489 F.2d 1396, 1399

(5th Cir. 1974)). Limited liability companies are considered “a citizen of any state of which

a member of the company of the company is a citizen.” Rolling Greens, 374 F.3d at 1022.

Therefore, the citizenship of a limited liability company depends on the citizenship of its

members. See id. In order to sufficiently allege the citizenship of a limited liability

company, “a party must list the citizenships of all the members of the limited liability

company and all the partners of its limited partnership.” Id.

        C. Amount in Controversy

        To establish jurisdiction under 28 U.S.C. § 1332(a), in addition to showing complete

diversity of citizenship, the removing party must also show that the matter in controversy

exceeds the sum or value of $75,000.00. “If the jurisdictional amount is either stated clearly

on the face of the documents before the court, or readily deducible from them, then the

court has jurisdiction. If not, the court must remand.” Lowery, 483 F.3d at 1211. Where

removal is sought on the basis of 28 U.S.C. § 1446(b), and the complaint does not specify

the amount of damages sought, “the court considers the initial complaint or a later received

paper – and determines whether that document and the notice of removal unambiguously

establish federal jurisdiction.” Id. at 1213. See also Faulk v. Husqvarna Consumer Outdoor

Prods. N.A., Inc., 849 F. Supp. 2d 1327, 1331 (M.D. Ala. 2012)(citing Pretka, 608 F.3d at

752).


                                              9
       Case 3:18-cv-00028-SRW Document 12 Filed 11/05/18 Page 10 of 19



      “There is some confusion within the Eleventh Circuit regarding the standard

applicable to ‘other paper’ analysis.” Moore, 2015 WL 5813164 at *4. This court is

persuaded by the Moore court’s conclusion that the “unambiguously establish” standard

articulated in Lowery, 483 F.3d at 1214-15 is binding on this court and governs this case.

The Moore court based its decision on, and is in accord with, Allen, 2011 WL 197964,

which is also persuasive. In Allen, the court explained its adoption of the Lowery

“unambiguously establish” standard as follows:

              “[I]n assessing the propriety of removal” under the second paragraph
      of § 1446(b), “the court considers the document received by the defendant
      from the plaintiff ... and determines whether that document and the notice of
      removal unambiguously establish federal jurisdiction.” Id. at 1213. The
      “document”—in this case, Plaintiff's deposition testimony—“must contain
      an unambiguous statement that clearly establishes federal jurisdiction,” in
      this case, the amount in controversy. Id. at 1213 n. 63 (citing Bosky v. Kroger
      Texas, LP, 288 F.3d 208, 211 (5th Cir. 2002), and Huffman v. Saul Holdings,
      LP, 194 F.3d 1072, 1078 (10th Cir. 1999))). The “jurisdictional amount”
      must be “stated clearly on the face of the documents before the court, or
      readily deducible from them.” Id. at 1211. If the evidence does not
      unambiguously establish the amount in controversy in this way, “neither the
      defendant[] nor the court may speculate in any attempt to make up for the
      notice’s failings.” Id. at 1214–15. Accordingly, a defendant must satisfy the
      “unambiguously establish” burden commanded by Lowery, where the
      plaintiff timely challenges the propriety of removal under the second
      paragraph of § 1447(c). See 483 F.3d at 1213 n. 64. That is the scenario in
      this case, and, thus, Lowery governs the present analysis.

             To say that Lowery’s “unambiguously establish” standard governs in
      this case, however, is not to say that Lowery has been warmly or readily
      embraced. To the contrary, it has been criticized and its holding constricted,
      most recently by the Eleventh Circuit in Pretka. Pretka rejected as dicta
      Lowery’s statements affecting removals made pursuant to the first paragraph
      of § 1446(b), like in Pretka, emphasizing that Lowery was a second-
      paragraph removal and “must be read in that context.” Pretka, 608 F.3d at
      747, 757–58, 760, 767; see also Roe, 613 F.3d at 1061 (following Pretka and
      noting that “[t]his opinion considers removal only under the first paragraph



                                            10
        Case 3:18-cv-00028-SRW Document 12 Filed 11/05/18 Page 11 of 19



       of § 1446(b); it does not address the effect of Lowery... on second-paragraph
       cases”).

              Moreover, to say that Lowery’s “unambiguously establish” standard
       governs in this case should not be taken to mean that this court understands
       the logic of the standard. Even Lowery itself recognized that the
       “unambiguously establish” standard and the less rigorous preponderance of
       the evidence standard were at odds. See 483 F.3d at 1211. If a defendant can
       unambiguously establish the amount in controversy, “then the defendant
       could have satisfied a far higher burden than preponderance of the evidence.”
       Id. Lowery, however, did not resolve the conflict; rather, it concluded that it
       was constrained by “precedent ... to continue forcing this square peg into a
       round hole.” Id.; see also SUA Ins. Co. v. Classic Home Builders, LLC, No.
       10–0388–WS–C, 2010 WL 4664968, at *4 (S.D. Ala. Nov. 17, 2010)
       (Lowery’s “‘unambiguously establish’ standard necessarily is more exacting
       than a preponderance of the evidence standard, and both of them cannot
       simultaneously apply.”).

              Lowery’s unambiguously establish standard has not been rejected in
       the context of a § 1446(b) second paragraph removal. Under Pretka's
       rationale that Lowery is dicta as to a first-paragraph removal, any criticism
       in Pretka as to the soundness of Lowery’s principles in § 1446(b) second-
       paragraph removals also must be regarded as dicta. As stated, this case
       involves a removal under the second paragraph of § 1446(b), and the
       propriety of the removal has been challenged in a timely-filed motion to
       remand under § 1447(c). Given this procedural posture, the court will apply
       Lowery. See Jackson v. Litton Loan Servicing, LP, No. 09cv1165, 2010 WL
       3168117, at *4 (M.D. Ala. Aug. 10, 2010) (“Until the Eleventh Circuit
       changes the rule set forth in Lowery, this Court will continue to apply it when
       considering a notice of removal under the second paragraph of § 1446(b).”).

Allen, 2011 WL 197964 at **3-5. This court agrees that the Lowery “unambiguously

establish” standard applies to second paragraph removals such as the one before the court.4


4
  See, e.g., Advantage Medical Electronics, LLC v. Mid-Continent Gas Co., 2014 WL 1764483,
*4 (S.D. Ala. May 5, 2014)(“Two major decisions by the Eleventh Circuit, Roe and Pretka,
followed Lowery and lightened the burden as amount in controversy for cases removed under §
1446(b)(1), however, “[t]his Court agrees with the weight of authority in this circuit following Roe
and Pretka, that the analysis set forth in Lowery still applies to [§ 1446(b)(3) ] cases.”)(alteration
in original); Brown v. Tanner Med. Ctr., 2010 WL 3328500, *3 (M.D. Ala. Aug. 23, 2010)(“As
this is a second-paragraph Type 1 case, the case is still governed by the analysis outlined in Lowery
[.]”).

                                                 11
          Case 3:18-cv-00028-SRW Document 12 Filed 11/05/18 Page 12 of 19



          In Lowery, the Eleventh Circuit cautioned that courts should not engage in

speculation, and stated that “[t]he absence of factual allegations pertinent to the existence

of jurisdiction is dispositive and, in such absence, the existence of jurisdiction should not

be divined by looking to the stars.” Lowery, 483 F.3d at 1214-15. While the court “may

rely on evidence put forward by the removing defendant, as well as reasonable inferences

and deductions drawn from that evidence,” Dudley v. Eli Lilly & Co., 778 F.3d 909, 913

(11th Cir. 2014), “[a] conclusory allegation in the notice of removal that the jurisdictional

amount is satisfied, without setting forth the underlying facts supporting such an assertion,

is insufficient to meet the defendant’s burden.” Williams, 269 F.3d at 1319-20 (collecting

cases).

          Settlement offers may be used to support a defendant’s assertion that the amount in

controversy meets the jurisdictional requirements, so long as they are sufficiently detailed.

“There is little dispute that ‘[a] settlement offer can constitute an “other paper” within the

meaning of 28 U.S.C. § 1446(b).’” Burns v. Windsor Ins. Co., 31 F.3d 1092, 1097 (11th

Cir. 1994)(citing Lowery, 483 F.3d at 1213 n.62). Written settlement demands are usually

afforded little weight in the absence of specific information on the basis of the demand,

and a demand letter alone will not establish that the amount in controversy exceeds

$75,000, but it counts for something. See Simpson v. Primerica, 2015 WL 9315658 *9

(M.D. Ala. 2015)(quoting Perkins v. Merion Realty Servs., LLC, 2015 WL 998198 **3-4

(M.D. Ala. 2015). See also Burns, 31 F.3d at 1097 (“While [the] settlement offer, by itself,

may not be determinative, it counts for something.”); Diaz v. Big Lots Stores, Inc., 2010

WL 6793850 *2 (M.D. Fla. 2010)(“The evidentiary value of a settlement offer in


                                              12
       Case 3:18-cv-00028-SRW Document 12 Filed 11/05/18 Page 13 of 19



establishing the amount in controversy depends on the circumstances of the offer.”). Since

“settlement offers commonly reflect puffing and posturing,” they must contain enough

information to offer “reasonable assessment of the value of a claim” to be entitled to more

weight. Jackson v. Select Portfolio Servicing, Inc., 651 F. Supp. 1279, 1281 (S.D. Ala.

2009). Whereas a demand letter which describes injuries in detail and breaks down

damages into identified, specific costs for past and future injuries may support an argument

that a settlement offer reflects a reasonable estimate of the actual value of a plaintiff’s

claims, a settlement offer which “fails to provide particularized information and a

reasonable assessment of value . . . is indicative of posturing and abstract assessments.”

Perkins, 2015 WL 998198 at **2-3.

IV.    Discussion

       A. Timeliness

       Plaintiff does not challenge the timeliness of defendant’s removal. Defendant’s

notice of removal was timely filed on January 17, 2018, exactly 30 days after the December

18, 2017 letter which purportedly first demonstrated the case’s removability.

       Plaintiff does not specify in her complaint the amount of damages she seeks, and

defendant bases its removal of this action on the receipt of an “other paper” – the December

18, 2017 letter containing a settlement offer of $250,000, from which defendant first

ascertained that the plaintiff’s claims exceeded the amount in controversy requirement

under 28 U.S.C. § 1332. Doc. 1 at 7-8. Therefore, under 28 U.S.C. §1446(b)(3), defendant’s

removal was a “second paragraph” removal, and case law analyzing the same is directly

applicable to the instant inquiry. All three conditions were met as of December 18, 2017,


                                            13
       Case 3:18-cv-00028-SRW Document 12 Filed 11/05/18 Page 14 of 19



and defendant had until January 17, 2018 to remove the case, the date on which its notice

of removal was filed in this court. Thus, removal was timely in this case.

       B. Diversity of Citizenship

       Plaintiff alleges that defendant “does not have diversity of citizenship in this matter”

because defendant “has members who reside in Alabama, thus citizenship in Alabama.”

Doc. 4 at 2-3. Plaintiff also alleges that “[d]efendant was doing business as The Apartment

at the Venue Vistas in Chambers County, Alabama”; that the “claim arises out of

Defendant’s contact with its property in Chamber’s [sic] County, Alabama”; and that

“[d]efendant admits venue is proper in paragraph 2 of its Answer.” Doc. 4 at 6-7, 10. As

noted above, citizenship, not residence, must be averred to establish diversity, so

defendant’s statements concerning citizenship are examined below.

       Defendant fails to allege adequately the diverse citizenship of a limited liability

company. In asserting that there is diversity of citizenship, the defendant states that it “is a

limited liability company organized under the laws of the State of Georgia and with its

principal place of business in the State of Georgia and specifically, Atlanta, Georgia.” Doc.

1 at 1. The defendant appears to be applying the standard for alleging the citizenship of a

corporation,5 not a limited liability company. As indicated above, “[a] limited liability

company is a citizen of any state of which a member of the company is a citizen.” Rolling

Greens, 374 F.3d at 1022. The notice of removal must therefore allege the citizenship or

domicile of all members of the limited liability company. Travaglio, 735 F.3d at 1268.


5
 If the entity is a corporation, the notice of removal must allege that state of incorporation and
where the corporation has its principal place of business. See §28 U.S.C. 1332(c)(1).

                                               14
       Case 3:18-cv-00028-SRW Document 12 Filed 11/05/18 Page 15 of 19



       Defendant attempts to cure this defect by alleging, in its response to plaintiff’s

motion to remand, that it “has four individual ‘human’ members who are all domiciled in

the State of Georgia.” Doc. 8. Along with its response, defendant submitted a sworn

affidavit, naming each member of the limited liability company and alleging that they all

are domiciled in the State of Georgia. Doc. 8-1 at 3-4.

       As noted above, this court may look to the whole record for the purpose of curing a

defective allegation of citizenship. Travaglio, 735 F.3d at 1269 (collecting cases). This

court also may consider post-removal evidence in assessing removal jurisdiction.

Sierminski, 216 F.3d at 949. Defendant’s post-removal affidavit distinctly and

affirmatively states the citizenship of each member of the limited liability company.

However, diversity of citizenship is determined at the time of removal. See PTA-FLA, Inc.,

844 F.3d at 1306. Defendant’s affidavit does not indicate whether its members were

citizens of Georgia at the time the notice of removal was filed. See Doc 8-1. Therefore,

defendant must cure this defect by submitting an affidavit which states the citizenship of

its members at the time of removal so that the court may assess whether complete diversity

existed when the case was removed.

       C. Amount in Controversy

       In its motion to remand, plaintiff does not dispute that the amount in controversy

meets the minimum $75,000.00 threshold to establish diversity jurisdiction under 28

U.S.C. § 1332(a). Doc. 4. However, this court has the obligation to assure itself that




                                            15
        Case 3:18-cv-00028-SRW Document 12 Filed 11/05/18 Page 16 of 19



jurisdictional requirements have been met.6 To meet its substantive burden of

unambiguously establishing the amount in controversy, defendant apparently relies solely

on plaintiff’s December 18, 2017 settlement offer, stating that “[p]laintiff responded via

email with an attached letter which made a settlement demand of $250,000.00.” Doc. 1 at

7.

       The December 18, 2017 letter indicates that plaintiff claims to have suffered an

income loss of $24,396.18 and out-of-pocket expenses in the amount of $20,324.14,

totaling $44,720.32. Doc. 1-3. The letter also alleges that plaintiff’s dog “passed away due

to the mold issues in the apartment.” Id. In addition, the letter identifies “attached

information regarding lost wages,” and includes an attachment which shows a net balance

of $34,659, a figure which is not identified as being in controversy, and which is not

congruent with the plaintiff’s alleged lost wages of $24,396.18. Doc. 1-3. Examining the

entire record, the original complaint alleges that plaintiff (1) developed an extreme

respiratory infection; (2) developed and/or experienced severe sinusitis; (3) continues to

suffer from pain in various portions of her body; (4) has experienced and continues to

experience mental anguish; (5) was permanently injured and damaged; (6) was caused to

incur personal injury, and medical expenses for treatment from various doctors, physicals,

and hospital; (7) was caused to incur out-of-pocket medical expenses; (8) was caused to




6
  See Neloms v. MT Transp. & Logistics. Servs., 2010 WL 890170 *2 (M.D. Ga. 2010)(“In this
case, the Court inquires sua sponte into the sufficiency of the amount in controversy, taking the
necessary steps to ensure the present claim fits within the Court’s limited jurisdictional framework.
A court is obligated to “assure itself that the case involves the requisite amount in
controversy.’”)(quoting Morrison v. Allstate Indem. Co., 228 F.3d 1255, 1261 (11th Cir. 2000)).

                                                 16
       Case 3:18-cv-00028-SRW Document 12 Filed 11/05/18 Page 17 of 19



lose wages; and (9) is reasonably certain to incur medical expenses in the future. Doc. 1-1

at 6. The complaint demands both compensatory and punitive damages and alleges that the

amount in controversy exceeds $10,000. Id. at 2, 24. The complaint does not state a specific

demand. The defendant’s December 13, 2017 letter to the plaintiff includes a copy of a

document which is described as a breakdown of expenses, totaling $20,324.14. Doc. 1-2.

While the document is broken down into several categories, the specific costs are not

identified. Likewise, defendant’s response to the motion to remand states only that

“evidence of the amount in controversy was clearly established by Plaintiff’s settlement

demand of $250,000.00 received by RAM on December 18, 2017.” Doc. 8.

       It is clear from these documents that plaintiff alleges a number of past and future

medical costs stemming from respiratory infection, sinusitis, and other physical and mental

harm. However, there is insufficient information in the record from which this court can

make a reasonable assessment of the extent to which the amount in controversy exceeds

the $44,720.32 in injuries which are specifically alleged, and defendant has not provided

any further documentation from which the court could reasonably infer or deduce that the

jurisdictional amount has been met.

       In Williams, the Eleventh Circuit held that “where the notice of removal asserts the

jurisdictional amount and the plaintiff does not challenge that assertion in the district court,

the defendant should be afforded an opportunity to submit evidence in support of its

assertion.” 269 F.3d at 1321. This court concludes that Williams’ reasoning also should

apply to this case. Although unlike Williams, where no motion to remand was filed,

plaintiff challenged defendant’s removal action in this case, the court interprets Williams


                                              17
       Case 3:18-cv-00028-SRW Document 12 Filed 11/05/18 Page 18 of 19



to stand for the proposition that where the plaintiff has not challenged that the amount in

controversy requirement has been satisfied, the court “should permit parties to develop the

record on the amount in controversy at the time of removal, then make findings of fact

based on that record.” Dixon v. Whatley Oil & Auto Parts Co., 2018 WL 4275924 *3 (M.D.

Ga. 2018). See also Dunlap v. Cockrell, 2018 WL 4456841 *1 (S.D. Ala. 2018)(directing

defendant to show cause why action should not be remanded based on the amount in

controversy requirement’s not being met); Anderson v. Clogg, 2014 WL 5460620 *1 (S.D.

Ga. 2014)(same). Where the defendant “provides no underlying facts or evidence to

support an amount in controversy exceeding $75,000,” there is no “unqualified

requirement” for an evidentiary hearing or a finding of fact. See Gonzalez v. Liberty

Mutual, 2012 WL 5266063 *2 (M.D. Fla. 2012). However, this court concludes that when

the defendant does provide underlying facts and evidence, but there remains uncertainty

about whether the amount in controversy requirement is met, “the district court will be

expected to make factual findings concerning the jurisdictional amount” to facilitate review

by an appellate court even where the plaintiff does challenge the amount in controversy in

a motion to remand. See Bennett v. USA Water Polo, Inc., 2009 WL 1089480 *3 (S.D. Fla

2009)(ordering post-removal discovery for the limited purpose of assessing the amount in

controversy). Accordingly, defendant will be permitted to conduct limited discovery to

show that jurisdiction exists in this case.

V.     Conclusion

       For the reasons set forth above, it is




                                                18
       Case 3:18-cv-00028-SRW Document 12 Filed 11/05/18 Page 19 of 19



       ORDERED that the defendant shall, on or before November 16, 2018, submit an

affidavit curing its allegation of diversity of citizenship by correctly stating its citizenship

at the time of removal. It is further

       ORDERED that the defendant is GRANTED LEAVE to conduct jurisdictional

discovery limited to the amount-in-controversy requirement. The defendant shall have until

December 5, 2018 to conduct said discovery, if it so desires.

       Furthermore, the plaintiff’s motion to remand is hereby DENIED WITHOUT

PREJUDICE to refiling after said discovery has been conducted and defendant’s corrected

affidavit has been filed.

       Done, on this the 5th day of November, 2018.

                                                   /s/ Susan Russ Walker
                                                   Susan Russ Walker
                                                   United States Magistrate Judge




                                              19
